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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  :
 STEWART SMITH,                                   :            CIVIL ACTION
                                                  :
                Plaintiff,                        :
                                                  :
                       v.                         :            No. 19-cv-1170
                                                  :
 EGV COMPANIES, INC.,                             :
                                                  :
                Defendant.                        :
                                                  :

                                             ORDER

       AND NOW, this 22nd day of April, 2019, it is hereby ORDERED that a Rule 16

Conference is scheduled for 2:00 p.m. on Thursday, May 23, 2019. The Conference will be held

via telephone. Counsel for Plaintiff shall initiate the conference call and contact Chambers at 267-

299-7500 when all counsel are connected.

       It is further ORDERED that counsel shall consult Judge Goldberg’s Policies and

Procedures (available at http://www.paed.uscourts.gov) prior to the conference.



                                                        BY THE COURT:



                                                        /s/ Mitchell S. Goldberg

                                                        MITCHELL S. GOLDBERG, J.
